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                                  8

                                  9                                UNITED STATES DISTRICT COURT

                            10                                 NORTHERN DISTRICT OF CALIFORNIA

                            11                                          OAKLAND DIVISION

                            12

                            13        STEVEN HELDT,                               Case No.: 4:15-cv-01696-YGR
                                      BRIAN BUCHANAN, and
                            14        CHRISTOPHER SLAIGHT
                                                                                  CLASS ACTION
                            15                       Plaintiffs,
                                                                                  TATA CONSULTANCY SERVICES,
                            16                 v.                                 LTD.’S ANSWER TO SECOND
                                                                                  AMENDED COMPLAINT
                            17        TATA CONSULTANCY SERVICES,
                                      LTD.,
                            18
                                                     Defendant.
                            19                                                    Complaint Filed: April 14, 2015

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      Loeb & Loeb                     LA2455543.3
                                                                                       DEFENDANT’S ANSWER TO SAC
A Limited Liability Partnership
    Including Professional            205625-10015
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                                  1                  DEFENDANT TATA CONSULTANCY SERVICES, LTD.’S
                                                        ANSWER TO SECOND AMENDED COMPLAINT
                                  2
                                               Defendant Tata Consultancy Services, Ltd. (“TCS”) answers the Second Amended
                                  3
                                      Complaint as follows:
                                  4
                                               1.    Defendant admits that TCS is an Indian company but denies the remainder of
                                  5
                                      the allegations in paragraph 1, inclusive of all subparts and footnotes.
                                  6
                                               2.    Defendant denies the allegations contained in paragraph 2.
                                  7
                                               3.    Defendant denies the allegations contained in paragraph 3, except admits that
                                  8
                                      plaintiff Heldt’s employment with TCS began in June 2012.
                                  9
                                               4.    Defendant denies the allegations contained in paragraph 4, except admits that
                            10
                                      plaintiff Heldt’s employment with TCS began in June 2012.
                            11
                                               5.    Defendant denies the allegations in paragraph 5, except admits that plaintiffs
                            12
                                      purport to maintain Title VII and section 1981 claims.
                            13
                                               6.    Defendant lacks information sufficient to form a belief as to the truth of
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                                      plaintiffs’ allegations in paragraph 6 and denies them on that basis.
                            15
                                               7.    Defendant lacks information sufficient to form a belief as to the truth of
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                                      plaintiffs’ allegations in paragraph 7 and denies them on that basis.
                            17
                                               8.    Defendant lacks information sufficient to form a belief as to the truth of
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                                      plaintiffs’ allegations in paragraph 8 and denies them on that basis.
                            19
                                               9.    Defendant lacks information sufficient to form a belief as to the truth of
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                                      plaintiffs’ allegations in paragraph 9 and denies them on that basis.
                            21
                                               10.   Defendant lacks information sufficient to form a belief as to the truth of
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                                      plaintiffs’ allegations in paragraph 10 and denies them on that basis.
                            23
                                               11.   Defendant lacks information sufficient to form a belief as to the truth of
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                                      plaintiffs’ allegations in paragraph 10 and denies them on that basis.
                            25
                                               12.   The first sentence of paragraph 12 is a legal conclusion to which no response
                            26
                                      is required. To the extent a response is required, defendant denies the allegations.
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                                                                                               DEFENDANT’S ANSWER TO SAC
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                                  1   Defendant admits that Mr. Heldt filed an administrative charge with the EEOC, but denies
                                  2   the remainder of the allegations in paragraph 12.
                                  3            13.    Defendant denies the allegations in paragraph 13, except admits that it
                                  4   provides consulting and technology services, among other things, and that it is
                                  5   headquartered in Mumbai, India.
                                  6            14.    Defendant states that paragraph 14 is a legal conclusion to which no response
                                  7   is necessary.
                                  8            15.    Defendant states that paragraph 15 is a legal conclusion to which no response
                                  9   is necessary.
                            10                 16.    Defendant states that paragraph 16 is a legal conclusion to which no response
                            11        is necessary.
                            12                 17.    Defendant states that paragraph 17 is a legal conclusion for which no
                            13        response is necessary.
                            14                 18.    Defendant states that the first sentence of paragraph 18 is a legal conclusion
                            15        to which no response is necessary, and denies the remaining allegations set forth in
                            16        paragraph 18.
                            17                 19.    Defendant denies the allegations in paragraph 19.
                            18                 20.    Defendant admits the allegations in paragraph 20, except that it denies the
                            19        accuracy of the description of defendant’s business services.
                            20                 21.    Defendant denies the allegations in paragraph 21.
                            21                 22.    Defendant denies the allegations of paragraph 22, and states that it lacks
                            22        information sufficient to form a belief as to the truth of plaintiffs’ allegations in footnote 2
                            23        and denies them on that basis.
                            24                 23.    Defendant denies the allegations in paragraph 23.
                            25                 24.    Defendant denies the allegations in paragraph 24, except admits that there is
                            26        a unit titled the Talent Acquisition Group.
                            27                 25.    Defendant denies the allegations in paragraph 25.
                            28

                                                                                               DEFENDANT’S ANSWER TO SAC
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                                  1            26.   Defendant denies the allegations in paragraph 26, and states that it lacks
                                  2   information sufficient to form a belief as to the truth of plaintiffs’ allegations in footnote 3
                                  3   and denies them on that basis.
                                  4            27.   Defendant denies the allegations in paragraph 27.
                                  5            28.   Defendant denies the allegations in paragraph 28
                                  6            29.   Defendant denies the allegations in paragraph 29.
                                  7            30.   Defendant denies the allegations in paragraph 30.
                                  8            31.   Defendant lacks information sufficient to form a belief as to the truth of
                                  9   plaintiffs’ allegations in paragraph 31 and accompanying footnote and denies the
                            10        allegations on that basis.
                            11                 32.   Defendant lacks information sufficient to form a belief as to the truth of
                            12        plaintiffs’ allegations in paragraph 32 and denies the allegations on that basis.
                            13                 33.   Defendant lacks information sufficient to form a belief as to the truth of
                            14        plaintiffs’ allegations in paragraph 33 and denies the allegations on that basis.
                            15                 34.   Defendant denies the allegations in paragraph 34.
                            16                 35.   Defendant denies the allegations in paragraph 35.
                            17                 36.   Defendant denies the allegations in paragraph 36.
                            18                 37.   Defendant denies the allegations in paragraph 37.
                            19                 38.   Defendant denies the allegations in paragraph 38.
                            20                 39.   Defendant denies the allegations in paragraph 39, except admits that
                            21        representatives from defendant attended a job fair in Arcadia, California in or about
                            22        October 2014, that defendant had a booth at the job fair, and that Mr. Buchanan has never
                            23        been an employee of defendant.
                            24                 40.   Defendant denies the allegations in paragraph 40 except that it admits that
                            25        positions were available at SCE and in the United States.
                            26                 41.   Defendant denies the allegations in paragraph 41 except admits that Mr.
                            27        Buchanan has never been an employee of defendant.
                            28

                                                                                               DEFENDANT’S ANSWER TO SAC
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                                  1            42.   Defendant lacks information sufficient to form a belief as to the truth of
                                  2   plaintiffs’ allegations with respect to Mr. Buchanan and his alleged request for an
                                  3   extension from SCE. Defendant denies the remainder of the allegations in paragraph 42.
                                  4            43.   Defendant lacks information sufficient to form a belief as to the truth of
                                  5   plaintiffs’ allegations in paragraph 43 and denies them on that basis.
                                  6            44.   Defendant denies the allegations in paragraph 44 including footnote 3,
                                  7   except that defendant admits Mr. Heldt interviewed for a position at Kaiser Permanente in
                                  8   Pleasanton, California.
                                  9            45.   Defendant denies the allegations in paragraph 45.
                            10                 46.   Defendant denies the allegations in paragraph 46, except admits that in or
                            11        about October 2002, Mr. Heldt was released from the Kaiser Permanente account and
                            12        placed with the Resource Management Group to be submitted for a new allocation.
                            13                 47.   Defendant denies the allegations in paragraph 47 except that it admits that
                            14        attempts were made by the Resource Management Group to allocate Mr. Heldt.
                            15                 48.   Defendant denies the allegations in paragraph 48.
                            16                 49.   Defendant denies the allegations of paragraph 49 except admits that Mr.
                            17        Mohan Reddy has spoken with Mr. Heldt.
                            18                 50.   Defendant admits that Mr. Heldt was selected for a position at Humana in
                            19        Louisville, Kentucky but denies all other allegations of paragraph 50.
                            20                 51.   Defendant admits that Mr. Heldt worked out of Louisville, Kentucky and
                            21        denies the remaining allegations of paragraph 51.
                            22                 52.   Defendant denies the allegations in paragraph 52.
                            23                 53.   Defendant denies the allegations in paragraph 53.
                            24                 54.   Defendant denies the allegations in paragraph 54.
                            25                 55.   Defendant admits that Mr. Heldt was given the opportunity to interview for
                            26        non-insurance and non-health care clients and denies all other allegations of paragraph 55.
                            27                 56.   Defendant denies the allegations in paragraph 56.
                            28                 57.   Defendant denies the allegations in paragraph 57.

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                                  1            58.   Defendant denies the allegations in paragraph 58.
                                  2            59.   Defendant denies the allegations in paragraph 59.
                                  3            60.   Defendant denies the allegations in paragraph 60 except admits that TCS
                                  4   terminated Mr. Heldt.
                                  5            61.   Defendant lacks information sufficient to form a belief as to the truth of
                                  6   plaintiffs’ allegations regarding Mr. Heldt’s observations in paragraph 61 and denies the
                                  7   allegations on that basis.
                                  8            62.   Defendant denies the allegations in paragraph 62 except that defendant
                                  9   admits Mr. Slaight began work on July 9, 2012 and underwent training in Cincinnati, Ohio
                            10        and Chennai, India.
                            11                 63.   Defendant admits the allegations in paragraph 63.
                            12                 64.   Defendant denies the allegations in paragraph 64 except that defendant
                            13        admits that Alok Bhalla and Vignesh Ramanan were supervisors.
                            14                 65.   Defendant denies the allegations in paragraph 65 except that defendant
                            15        admits that Mr. Slaight was placed with the Resource Management Group to be submitted
                            16        for a new allocation and that he was considered for a position at Bank of America.
                            17                 66.   Defendant denies the allegations in paragraph 66, except admits that Mr.
                            18        Slaight was terminated on or about April 19, 2013.
                            19                 67.   Defendant lacks information sufficient to form a belief as to the truth of
                            20        plaintiffs’ allegations in paragraph 67 and denies them on that basis.
                            21                 68.   Defendant lacks information sufficient to form a belief as to the truth of
                            22        plaintiffs’ allegations in paragraph 68 and denies them on that basis.
                            23                 69.   Defendant denies the allegations in paragraph 69, inclusive of all subparts
                            24        and footnotes.
                            25                 70.   Defendant denies the allegations in paragraph 70.
                            26                 71.   Defendant denies the allegations in paragraph 71.
                            27                 72.   Defendant denies the allegations in paragraph 72.
                            28                 73.   Defendant denies the allegations in paragraph 73.

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                                  1            74.    Defendant denies the allegations in paragraph 74.
                                  2            75.    Defendant denies the allegations in paragraph 75.
                                  3            76.    Defendant denies the allegations in paragraph 76.
                                  4            77.    Defendant denies the allegations in paragraph 77.
                                  5                                              COUNT I
                                  6            78.    Defendant re-alleges the allegations in paragraphs 1 through 77 as if fully set
                                  7   forth herein.
                                  8            79.    Defendant lacks information sufficient to form a belief as to the truth of
                                  9   plaintiffs’ allegations in paragraph 79, except admits that plaintiff Heldt purports to
                            10        proceed as set forth therein.
                            11                 80.    Defendant denies the allegations in paragraph 80.
                            12                 81.    Defendant denies the allegations in paragraph 81.
                            13                 82.    Defendant denies the allegations in paragraph 82.
                            14                                                   COUNT II
                            15                 83.    Defendant re-alleges the allegations in paragraphs 1 through 82 as if fully set
                            16        forth herein.
                            17                 84.    Defendant lacks information sufficient to form a belief as to the truth of
                            18        plaintiffs’ allegations in paragraph 84, except admits that plaintiffs purport to proceed as
                            19        set forth therein.
                            20                 85.    Defendant denies the allegations in paragraph 85.
                            21                 86.    Defendant denies the allegations in paragraph 86.
                            22                 87.    Defendant denies the allegations in paragraph 87.
                            23                                           PRAYER FOR RELIEF
                            24                 Defendant denies that plaintiffs and/or the purported class they seek to represent are
                            25        entitled to any damages or relief and prays for judgment against plaintiffs as follows:
                            26                 1.     That plaintiffs recover nothing from their Second Amended Complaint;
                            27                 2.     For costs and legal fees of the suit herein; and
                            28                 3.     For such other and further relief as the Court deems just and proper.

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                                  1                                  AFFIRMATIVE DEFENSES
                                  2                               FIRST AFFIRMATIVE DEFENSE
                                  3                               (Failure to State a Cause of Action)
                                  4            1.    Defendant alleges that the Second Amended Complaint (“SAC”), and each
                                  5   count contained therein, fails to state a claim for which relief may be granted.
                                  6                             SECOND AFFIRMATIVE DEFENSE
                                  7                                        (Lack of Standing)
                                  8            2.    Defendant alleges that plaintiffs lacks standing to prosecute one or more
                                  9   claims.
                            10                                   THIRD AFFIRMATIVE DEFENSE
                            11                                           (Statute of Limitations)
                            12                 3.    Defendant alleges that plaintiffs’ claims are barred, in whole or in part, by
                            13        the applicable statutes of limitation, to the extent the class period exceeds the applicable
                            14        limitations period for civil and/or administrative claims.
                            15                                  FOURTH AFFIRMATIVE DEFENSE
                            16                       (Failure to Exhaust Administrative/Procedural Remedies)
                            17                 4.    Defendant alleges that plaintiffs’ claims are barred, in whole or in part, to the
                            18        extent they failed to exhaust applicable administrative remedies.
                            19                                    FIFTH AFFIRMATIVE DEFENSE
                            20                                             (Mitigation/Offset)
                            21                 5.    Defendant alleges that plaintiffs’ claims are barred, in whole or in part, to the
                            22        extent that any plaintiff failed to mitigate damages and other alleged losses as required by
                            23        law. Moreover, any such damages must be offset by the amount of any benefits any
                            24        plaintiff has already received as provided by law.
                            25                                    SIXTH AFFIRMATIVE DEFENSE
                            26                                         (Lack of Proximate Cause)
                            27                 6.    Defendant alleges that plaintiffs’ injuries and damages, if any, were directly
                            28        and proximately caused by the acts, omissions and/or negligence of plaintiffs and/or other

                                                                                               DEFENDANT’S ANSWER TO SAC
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                                  1   persons and/or entities other than defendant. Defendant has no control over such persons
                                  2   and/or entities, and the conduct of such persons and/or entities constitutes an intervening
                                  3   and superseding cause of the alleged injuries and damages.
                                  4                               SEVENTH AFFIRMATIVE DEFENSE
                                  5                                             (Estoppel)
                                  6            7.    Defendant alleges that plaintiffs’ claims are barred, in whole or in part, by
                                  7   the doctrine of estoppel.
                                  8                               EIGHTH AFFIRMATIVE DEFENSE
                                  9                                        (Frivolous Action)
                            10                 8.    Defendant alleges that plaintiffs’ claims are frivolous and without foundation
                            11        in fact. Furthermore, this lawsuit is being pursued by plaintiffs in bad faith and for
                            12        vexatious reasons and for the purpose of harassing defendant. Accordingly, defendant is
                            13        entitled to recover its attorneys’ fees and the appropriate costs and expenses in defending
                            14        this action.
                            15                                     NINTH AFFIRMATIVE DEFENSE
                            16                                                (Good Faith)
                            17                 9.    Defendant alleges that it acted in good faith and with reasonable belief and
                            18        did not, in any manner directly or indirectly, perform any act, or fail to perform any act,
                            19        which would violate any of plaintiffs’ alleged rights.
                            20                                     TENTH AFFIRMATIVE DEFENSE
                            21                                                   (Laches)
                            22                 10.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part, by
                            23        the doctrine of laches.
                            24                                  ELEVENTH AFFIRMATIVE DEFENSE
                            25                                    (Workers’ Compensation Exclusivity)
                            26                 11.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part, by
                            27        the California Workers’ Compensation Act or another state’s equivalent.
                            28

                                                                                               DEFENDANT’S ANSWER TO SAC
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                                  1                             TWELFTH AFFIRMATIVE DEFENSE
                                  2                                         (Unclean Hands)
                                  3            12.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part, by
                                  4   the doctrine of unclean hands.
                                  5                          THIRTEENTH AFFIRMATIVE DEFENSE
                                  6                                              (Waiver)
                                  7            13.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part, by
                                  8   the doctrine of waiver.
                                  9                          FOURTEENTH AFFIRMATIVE DEFENSE
                            10                                   (Business Reasons/Business Necessity)
                            11                 14.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part,
                            12        because the acts or omissions, if any, of defendant were taken for legitimate, non-
                            13        discriminatory reasons and/or in furtherance of legitimate business interests.
                            14                                  FIFTEENTH AFFIRMATIVE DEFENSE
                            15                                           (No Punitive Damages)
                            16                 15.   Defendant alleges that plaintiffs’ claims fail to allege facts which if proven,
                            17        would entitle plaintiffs to recover punitive damages against defendant. Recovery of any
                            18        such punitive damages would violate applicable laws, including defendant’s due process.
                            19                                  SIXTEENTH AFFIRMATIVE DEFENSE
                            20                                         (After-Acquired Evidence)
                            21                 16.   Defendant alleges that any recovery on plaintiffs’ claims are barred, in whole
                            22        or in part, due to the discovery of after-acquired evidence.
                            23                              SEVENTEENTH AFFIRMATIVE DEFENSE
                            24                           (Failure To Utilize Internal Grievance Procedures)
                            25                 17.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part, to the
                            26        extent that any plaintiff failed to avail themselves of defendant’s internal complaint
                            27        procedures.
                            28

                                                                                               DEFENDANT’S ANSWER TO SAC
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                                  1                          EIGHTEENTH AFFIRMATIVE DEFENSE
                                  2                                          (Reasonable Care)
                                  3            18.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part,
                                  4   because defendant exercised reasonable care to prevent and correct any alleged
                                  5   discriminatory and/or retaliatory conduct, if any.
                                  6                          NINETEENTH AFFIRMATIVE DEFENSE
                                  7                               (Bona Fide Occupational Qualification)
                                  8            19.   Defendant alleges that plaintiffs’ claims are barred, in whole or in part, to the
                                  9   extent each decision at issue was made based on a bona fide occupational qualification.
                            10                                TWENTIETH AFFIRMATIVE DEFENSE
                            11                       (Claims Outside the Scope of the Administrative Charge(s))
                            12                 20.   Plaintiffs’ claims are barred to the extent that any of their allegations are
                            13        outside the scope of the administrative charges filed by plaintiff(s).
                            14                              TWENTY FIRST AFFIRMATIVE DEFENSE
                            15                                               (No Class Action)
                            16                 21.   Plaintiffs are not entitled to certification of this action as a class action
                            17        because the purported class is not so numerous that joinder of its members is
                            18        impracticable, questions of law or fact are not common to the class, plaintiffs’ claims are
                            19        not typical of the claims or defenses of the purported class, plaintiffs will not fairly and
                            20        adequately protect the interests of the class, and the requirements of Fed. R. Civ. P. 23(b)
                            21        are not met in this case.
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                                                                                                 DEFENDANT’S ANSWER TO SAC
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                                  1                       TWENTY SECOND AFFIRMATIVE DEFENSE
                                  2                                              (Release)
                                  3            22.   Plaintiffs’ claims are barred to the extent any plaintiff has released any
                                  4   claim.
                                  5

                                  6   Dated: October 13, 2015                    LOEB & LOEB LLP
                                                                                 MICHELLE M. LA MAR
                                  7                                              PATRICK N. DOWNES
                                                                                 ERIN M. SMITH
                                  8

                                  9                                              By: /s/Michelle M. La Mar
                                                                                     Michelle M. La Mar
                            10                                                       Attorneys for Defendant
                                                                                     TATA CONSULTANCY SERVICES, LTD.
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                                                                                               DEFENDANT’S ANSWER TO SAC
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